     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 1 of 14


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 7
 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10
11    CALIFORNIA DEPARTMENT OF                    Case No. 2:14-cv-00595-WBS-EFB
      TOXIC SUBSTANCES CONTROL,
12    et al.,                                     STATEMENT OF UNDISPUTED
                                                  FACTS IN SUPPORT OF MOTION
13                              Plaintiffs,       FOR SUMMARY JUDGMENT BY
                                                  DEFENDANT WEST COAST WOOD
14            v.                                  PRESERVING, LLC
15    JIM DOBBAS, INC., et al.,                   [Filed concurrently with Notice of
                                                  Motion and Motion For Summary
16                              Defendants.       Judgment, Declaration of Lester O.
                                                  Brown, Declaration of Stephen Ryan,
17                                                Request for Judicial Notice, and
                                                  [Proposed] Order]
18
                                                  Date:      January 26, 2014
19                                                Time:      2:00 p.m.
                                                  Place:     Courtroom 5, 14th Floor
20                                                           501 I Street
                                                             Sacramento, CA 95814
21                                                Trial:     January 4, 2017
                                                  Action Filed: March 3, 2014
22
      AND RELATED
23    COUNTERCLAIMS AND CROSS-
      ACTIONS.
24
25
26
27
28
                                                           STATEMENT OF UNDISPUTED FACTS
      38020-0017/LEGAL124007822.1
                                                                      2:14-cv-00595-WBS-EFB
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 2 of 14


 1            Defendant West Coast Wood Preserving, LLC (“WCWP”) respectfully
 2    submits the following Statement of Undisputed Facts in support of its motion for
 3    summary judgment, pursuant to Federal Rules of Civil Procedure, Rule 56(a) and
 4    Local Rule of the District Court for the Eastern District of California 260:
 5               UNDISPUTED FACTS                            SUPPORTING EVIDENCE
 6    1.      PWP Corp. was incorporated                1.       WCWP’s Request for Judicial
 7    under California law in 1972 and                  Notice (“RJN”), ¶ 7, Ex. F; Declaration
 8    operated a wood treatment and                     of Stephen Ryan (“Ryan Dec.”), ¶¶ 5-7.
 9    preserving business at the Wickes Site in
10    Elmira, California until September 1979.
11    2.      Richard Jackson was PWP                   2.       Ryan Dec., ¶¶ 4, 23.
12    Corp.’s sole shareholder and was one of
13    its board members.
14    3.      PWP Corp. operated from its               3.       Ryan Dec., ¶ 5.
15    single location in Elmira, California.
16    4.      In late 1978, the Wickes                  4.       Ryan Dec., ¶ 6; Declaration of
17    Corporation (“Wickes”), a multi-billion           Lester O. Brown (“Brown Dec.”), ¶ 9,
18    dollar corporation, expressed interest in         Ex. F.
19    purchasing PWP Corp.’s operations.
20    5.      Negotiations began in 1979 and            5.       Ryan Dec., ¶ 7, Ex. A.
21    concluded with a Purchase Agreement
22    on September 12, 1979.
23    6.      Wickes purchased or assumed               6.       Ryan Dec., ¶ 7, Ex. A at pp. 6-7,
24    from PWP Corp.:                                   22-24, and 32-41.
25         • The land in Elmira on which the
26            facility was situated;
27         • The “machinery, equipment,
28
                                                                   STATEMENT OF UNDISPUTED FACTS
      38020-0017/LEGAL124007822.1                 -1-
                                                                              2:14-cv-00595-WBS-EFB   J
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 3 of 14


 1
                 UNDISPUTED FACTS                            SUPPORTING EVIDENCE
 2
              office furniture, [and other] goods
 3
              and chattels” at the facility;
 4
           • The buildings and improvements
 5
              at the facility;
 6
           • The licenses for the proprietary
 7
              wood preserving treatment
 8
              processes utilized by PWP Corp.;
 9
           • PWP Corp.’s inventory;
10
           • PWP Corp.’s trade accounts
11
              payable; and
12
           • The PWP name and an agreement
13
              by PWP Corp. to refrain from
14
              using the trade name “Pacific
15
              Wood Preserving,” except where
16
              it is necessary for it to wind-up its
17
              operations.
18
      7.      Wickes also retained 26 of PWP            7.   Ryan Dec., ¶ 7, Ex. A at p. 44.
19
      Corp.’s employees.
20
      8.      These employees included                  8.   Ryan Dec., ¶ 7, Ex. A at p. 44.
21
      Marjorie Moore, the office manager and
22
      corporate secretary of PWP Corp., and
23
      Richard Brinkman, the facility
24
      superintendent.
25
      9.      Wickes and PWP Corp.                      9.   Ryan Dec., ¶ 7, Ex. A at p. 25.
26
      characterized their transaction as a “bulk
27
      sale” in the Purchase Agreement, and
28
                                                               STATEMENT OF UNDISPUTED FACTS
      38020-0017/LEGAL124007822.1                 -2-
                                                                          2:14-cv-00595-WBS-EFB
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 4 of 14


 1
                 UNDISPUTED FACTS                             SUPPORTING EVIDENCE
 2
      Wickes agreed to comply with
 3
      California’s Bulk Sales Statutes prior to
 4
      the closing.
 5
      10.      No stock was transferred to              10.   Ryan Dec., ¶¶ 7 - 8, Exs. A and B.
 6
      Jackson in exchange for the sale of PWP
 7
      Corp.’s assets to Wickes.
 8
      11.      At the time of the Purchase              11.   Ryan Dec., ¶ 12.
 9
      Agreement, the only other asset that
10
      PWP Corp. had, which was not being
11
      transferred to Wickes, was an
12
      undeveloped parcel of real property
13
      located in Bakersfield, California.
14
      12.      The Purchase Agreement required 12.            Ryan Dec., ¶ 7, Ex. A at pp. 26-
15
      PWP Corp. to complete an investigation            27.
16
      and remediation of the Wickes Site
17
      required by the California Regional
18
      Water Quality Control Board, Central
19
      Valley Region (“Regional Board”)
20
      resulting from a spill of chemicals.
21
      13.      In 1979, PWP Corp. hired CH2M            13.   Brown Dec., ¶¶ 4 -5, Ex. A and B.
22
      Hill to do the engineering work and
23
      sampling of soils and groundwater at the
24
      site. PWP Corp. also hired IT
25
      Corporation and other companies to
26
      collect and dispose of the contaminated
27
      soils.
28
                                                                STATEMENT OF UNDISPUTED FACTS
      38020-0017/LEGAL124007822.1                 -3-
                                                                           2:14-cv-00595-WBS-EFB
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 5 of 14


 1
                 UNDISPUTED FACTS                            SUPPORTING EVIDENCE
 2
      14.     CH2M Hill prepared a report              14.   Brown Dec., ¶ 4, Ex. A.
 3
      dated May 9, 1979, on behalf of PWP
 4
      Corp., which was submitted to the
 5
      Regional Board.
 6
      15.     CH2M Hill and its contractors            15.   Brown Dec., ¶ 6, Ex. C.
 7
      completed the investigation, clean up
 8
      and improvements in late summer 1979.
 9
      16.     On November 19, 1979, the                16.   Brown Dec., ¶ 6, Ex. C.
10
      Regional Board notified PWP Corp. that
11
      the required actions had been
12
      satisfactorily completed.
13
      17.     On September 11, 1980, PWP               17.   RJN, ¶ 9, Ex. H.
14
      Corp. filed for dissolution in accordance
15
      with California law.
16
      18.     The dissolution was not complete         18.   Ryan Dec., ¶ 16.
17
      until sometime in late 1981.
18
      19.     In October 1978, PWP Corp. had           19.   Ryan Dec., ¶¶ 12 – 13; RJN, ¶¶ 10-
19
      purchased a parcel of property at 5601           11, Exs. I & J.
20
      District Boulevard, Bakersfield,
21
      California for $250,000.
22
      20.     PWP Corp. financed $177,500 of           20.   Ryan Dec., ¶ 14; RJN, ¶ 11, Ex.
23
      this amount with a mortgage secured by           J.
24
      a deed of trust from the seller, Tenneco
25
      Realty Development Corporation
26
      (“Tenneco”).
27
28
                                                               STATEMENT OF UNDISPUTED FACTS
      38020-0017/LEGAL124007822.1                -4-
                                                                          2:14-cv-00595-WBS-EFB
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 6 of 14


 1
                 UNDISPUTED FACTS                           SUPPORTING EVIDENCE
 2
      21.     On September 19, 1980, Tenneco          21.   RJN, ¶ 12, Ex. K.
 3
      reconveyed its deed of trust on the
 4
      Bakersfield property back to PWP Corp.
 5
      22.     The “Full Reconveyance” that            22.   RJN, ¶ 12, Ex. K.
 6
      Tenneco filed with the Kern County
 7
      Recorder’s Office states that the debt
 8
      secured by the deed of trust had been
 9
      fully paid.
10
      23.     Pacific Wood Preserving of              23.   RJN, ¶ 1, Ex. A.
11
      Bakersfield, Inc. was incorporated under
12
      Nevada law on October 27, 1978.
13
      24.     In 1979, Pacific Wood Preserving        24.   Ryan Dec., ¶ 20.
14
      of Bakersfield, Inc. began operating a
15
      wood preserving and treatment plant at
16
      5601 District Boulevard, Bakersfield.
17
      25.     On September 19, 1980, Pacific          25.   RJN, ¶ 13, Ex. L.
18
      Wood Preserving of Bakersfield, Inc.
19
      executed a “Short Form Deed of Trust
20
      and Assignment of Rents” in favor of
21
      Lloyds Bank California to secure a loan
22
      in the amount of $200,000.
23
      26.     Those monies were used by               26.   Ryan Dec., ¶ 24.
24
      Pacific Wood Preserving of Bakersfield,
25
      Inc. to purchase the property from PWP
26
      Corp., as the final payment for the
27
      property was due and owing and PWP
28
                                                              STATEMENT OF UNDISPUTED FACTS
      38020-0017/LEGAL124007822.1               -5-
                                                                         2:14-cv-00595-WBS-EFB
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 7 of 14


 1
                 UNDISPUTED FACTS                            SUPPORTING EVIDENCE
 2
      Corp. no longer had any funds to pay it.
 3
      27.     On September 21, 1981, PWP               27.   RJN, ¶ 14, Ex. M.
 4
      Corp. filed a “Grant Deed
 5
      (Corporation)” with the Kern County
 6
      Recorder’s office granting the property
 7
      at 5601 District Boulevard, Bakersfield,
 8
      California to Pacific Wood Preserving
 9
      of Bakersfield, Inc.
10
      28.     After Wickes took over PWP               28.   Brown Dec., ¶ 10, Ex. G.
11
      Corp.’s operations in Elmira, California,
12
      several documented chemical spills at
13
      the Wickes Site took place resulting in
14
      enforcement action by the Regional
15
      Board and DTSC’s predecessor. For
16
      example, on November 7, 1980, a large
17
      spill of toxic chemicals occurred at the
18
      Wickes Site.
19
      29.     The Regional Board issued                29.   Brown Dec., ¶¶ 10 - 11, Exs. G
20
      cleanup and abatement orders on June 7, and H.
21
      1982 and October 4, 1982.
22
      30.     On September 9, 1983, Wickes             30.   Brown Dec., ¶ 13, Ex. J at pp. 57-
23
      proposed a Remedial Action Plan                  58.
24
      (“RAP”) for the Wickes Site that
25
      required it to, inter alia, construct a
26
      groundwater “treatment plant utilizing
27
      an ion-exchange system,” to construct a
28
                                                               STATEMENT OF UNDISPUTED FACTS
      38020-0017/LEGAL124007822.1                -6-
                                                                          2:14-cv-00595-WBS-EFB
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 8 of 14


 1
                 UNDISPUTED FACTS                            SUPPORTING EVIDENCE
 2
      subsurface drainage system, to remove
 3
      soil in the truck loading pad area, and to
 4
      cap the drying pad area with asphalt,
 5
      instead of removing contaminated soils.
 6
      31.     The Regional Board, with the             31.   Brown Dec., ¶ 15, Ex. L.
 7
      concurrence of DTSC’s predecessor,
 8
      conceptually approved the RAP on
 9
      September 19, 1983.
10
      32.     In February 1984, Wickes, DTSC, 32.            Brown Dec., ¶ 12, Ex. I.
11
      and the Regional Board entered into a
12
      Settlement Agreement and Schedule of
13
      Compliance regarding Wickes’ disposal
14
      of hazardous substances at the Site.
15
      33.     Pursuant to this settlement              33.   Brown Dec., ¶ 12, Ex. I at p. 50.
16
      agreement, the State formally approved
17
      the 1983 RAP.
18
      34.     The settlement stated that the           34.   Brown Dec., ¶ 12, Ex. I at p. 51.
19
      goals of the 1983 RAP included the
20
      elimination of all groundwater
21
      contamination (both on- and off-site) in
22
      five to ten years.
23
      35.     Wickes commenced the physical            35.   Brown Dec., ¶¶ 16, 17, Ex. M at
24
      on-site construction of work called for          p. 97 and Ex. N at p. 109.
25
      by the 1983 RAP in the fall of 1983,
26
      including but not limited to the asphalt
27
      paving of the drying pad area.
28
                                                               STATEMENT OF UNDISPUTED FACTS
      38020-0017/LEGAL124007822.1                -7-
                                                                          2:14-cv-00595-WBS-EFB
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 9 of 14


 1
                 UNDISPUTED FACTS                            SUPPORTING EVIDENCE
 2
      36.     Wickes also constructed the              36.   Brown Dec., ¶ 16, Ex. M at p. 98.
 3
      groundwater extraction and ion-
 4
      exchange treatment system, which
 5
      began operating in April 1984.
 6
      37.     In November 1986, Wickes                 37.   Brown Dec., ¶ 18, Ex. O.
 7
      purchased the Collins & Aikman
 8
      Corporation (“C&A”) for approximately
 9
      $1.16 billion.
10
      38.     On February 5, 1992, DTSC and            38.   Brown Dec., ¶ 20, Ex. Q.
11
      C&A entered into an Enforceable
12
      Agreement requiring C&A to propose a
13
      new RAP for the Wickes Site.
14
      39.     In May 1993, as part of its              39.   Brown Dec., ¶ 21, Ex. R at p. 147.
15
      requirement for approval of this new
16
      RAP, the State required C&A to add a
17
      preliminary nonbinding allocation of
18
      responsibility to the new RAP with
19
      regard to the costs of investigating and
20
      remediating the Elmira site, assigning
21
      100% of the responsibility to C&A as
22
      successor in interest to Wickes, in turn
23
      as successor in interest to PWP Corp.
24
      40.     On February 25, 1994, C&A                40.   Brown Dec., ¶ 16, Ex. M.
25
      proposed the new RAP which
26
      concentrated on soil contamination in
27
      the northern portion of the Site.
28
                                                               STATEMENT OF UNDISPUTED FACTS
      38020-0017/LEGAL124007822.1                -8-
                                                                          2:14-cv-00595-WBS-EFB
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 10 of 14


 1
                  UNDISPUTED FACTS                            SUPPORTING EVIDENCE
 2
       41.      DTSC’s official and published           41.   Brown Dec., ¶ 16, Ex. M, pp. 87-
 3
       Executive Summary of the 1994 RAP                94.
 4
       described it as a “Final Remedial Action
 5
       Plan.”
 6
       42.      The 1994 RAP called for, inter          42.   Brown Dec., ¶ 16, Ex. M at p. 92.
 7
       alia, the grading of soil and the
 8
       installation of an asphalt cap in all areas
 9
       of the Wickes Site that were not
10
       previously sealed, and the recording of a
11
       deed restriction.
12
       43.      The 1994 RAP also included a            43.   Brown Dec., ¶ 16, Ex. M at p. 93.
13
       Preliminary Nonbinding Allocation of
14
       Financial Responsibility (“NBAR”)
15
       stating that C&A was “[t]he responsible
16
       party.”
17
       44.      In a “Final RAP Checklist” from         44.   Brown Dec., ¶ 22, Ex. S at p. 149.
18
       February 1994, DTSC wrote that the
19
       response activities associated with the
20
       1994 RAP would “result in a permanent
21
       solution to the contamination problem
22
       (e.g. total removal).”
23
       45.      In March 1996, DTSC certified           45.   Brown Dec., ¶ 23, Ex. T.
24
       implementation of the 1994 RAP at the
25
       Wickes Site.
26
       46.      In this “Remedial Action                46.   Brown Dec., ¶ 23, Ex. T at pp.
27
       Certification Form” (the “1996 RAC”)             158, 159, 162, and 163.
28
                                                                STATEMENT OF UNDISPUTED FACTS
       38020-0017/LEGAL124007822.1                -9-
                                                                           2:14-cv-00595-WBS-EFB
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 11 of 14


 1
                  UNDISPUTED FACTS                         SUPPORTING EVIDENCE
 2
       which was signed by the DTSC Project
 3
       Manager, Unit Chief, and Branch Chief,
 4
       and published to all the interested
 5
       parties, DTSC confirmed that:
 6
           • Two Remedial Actions Plans
 7
               (RAPs) have been completed to
 8
               address the contamination”;
 9
           • The “Response Action Taken on
10
               Site” was a “Final Remedial
11
               Action”;
12
           • The remedial action taken at the
13
               site between 1983 and 1996
14
               consisted of soil excavation and
15
               off-site disposal, an asphalt cap,
16
               groundwater extraction and
17
               treatment in an on-site chemical
18
               treatment plant, and a deed
19
               restriction;
20
           • C&A spent approximately $5.5
21
               million in response costs
22
               associated with the 1994 RAP;
23
               and
24
           • “DTSC has determined that all
25
               appropriate removal/remedial
26
               actions have been completed and
27
               that all acceptable engineering
28
                                                            STATEMENT OF UNDISPUTED FACTS
       38020-0017/LEGAL124007822.1                  -10-
                                                                       2:14-cv-00595-WBS-EFB
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 12 of 14


 1
                  UNDISPUTED FACTS                              SUPPORTING EVIDENCE
 2
               practices were implemented.”
 3
       47.     In 2009, DTSC commissioned a               47.   Brown Dec., ¶ 25, Ex. V, at pp.
 4
       Removal Action Workplan (“RAW”),                   185, 186, 202, 204, 205, and 207.
 5
       which was finalized in July 2010. This
 6
       RAW called for soil excavation, off-site
 7
       disposal, and groundwater monitoring.
 8
       The RAW does not cite to any post-
 9
       1982 spills or leaks of hazardous
10
       substances at the Wickes Site.
11
       48.     The July 2010 RAW was                      48.   Brown Dec., ¶ 26, Ex. W.
12
       implemented by DTSC in 2011-2012.
13
       49.     In its Complaint, DTSC alleges             49.   Complaint, ECF No. 1 at ¶ 31, p.
14
       that it has spent in excess of $2 million          8.
15
       since 2007 to remediate the Wickes Site.
16
       50.     With the exception of Jackson,             50.   Ryan Dec., ¶ 23; RJN, ¶¶ 1 and 7,
17
       PWP Corp. and Pacific Wood                         Exs. A and F.
18
       Preserving of Bakersfield, Inc. had
19
       different shareholders and board
20
       members.
21
       51.     In September 2010, for the first           51.   Brown Dec., ¶ 27, Ex. X.
22
       time, DTSC sent a letter to WCWP
23
       alleging that it was a potentially
24
       responsible party (“PRP”) for the
25
       cleanup of hazardous substances at the
26
       Wickes Site as the successor to PWP
27
       Corp.
28
                                                                  STATEMENT OF UNDISPUTED FACTS
       38020-0017/LEGAL124007822.1                 -11-
                                                                             2:14-cv-00595-WBS-EFB
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 13 of 14


 1
                  UNDISPUTED FACTS                             SUPPORTING EVIDENCE
 2
       52.     WCWP denied any such                      52.   Brown Dec., ¶ 28, Ex. Y.
 3
       responsibility.
 4
       53.     DTSC’s website identifies C&A             53.   Brown Dec., ¶ 29, Ex. Z.
 5
       as the responsible party at the Wickes
 6
       Site.
 7
       54.     WCWP, both in its official                54.   Ryan Dec., ¶ 25, Ex. C.
 8
       pronouncements and industry reporting,
 9
       tried to ensure that its operations were
10
       not confused with the Wickes’
11
       operations in Elmira.
12
       55.     Pacific Wood Preserving of                55.   Ryan Dec., ¶ 25, Ex. C.
13
       Bakersfield, Inc. emphasized in
14
       advertisements that it was a “brand new”
15
       wood treating company.
16
       56.     In November 2013, Pacific Wood            56.   RJN, ¶ 4, Ex. E.
17
       Preserving of Bakersfield, Inc.
18
       converted from a corporation into a
19
       limited liability company entitled West
20
       Coast Wood Preserving, LLC
21
       (“WCWP”).
22
       57.     There have been no wood                   57.   Brown Dec., Exs. V, p. 185, and
23
       preserving or treatment operations at the         M, pp. 87 and 101.
24
       Wickes Site since Wickes closed the site
25
       in August 1982.
26
27
28
                                                                 STATEMENT OF UNDISPUTED FACTS
       38020-0017/LEGAL124007822.1                -12-
                                                                            2:14-cv-00595-WBS-EFB
     Case 2:14-cv-00595-WBS-JDP Document 79-1 Filed 12/15/14 Page 14 of 14


 1     DATED: December 15, 2014              PERKINS COIE LLP
 2
 3                                           By:/s/ Lester O. Brown
                                                Lester O. Brown
 4
                                             Attorneys for Defendant
 5                                           West Coast Wood Preserving, LLC
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                                                     STATEMENT OF UNDISPUTED FACTS
       38020-0017/LEGAL124007822.1        -13-
                                                                2:14-cv-00595-WBS-EFB
